         Case 5:19-cv-00152-JPB
CASE 19-C-59            OHIO       Document 1-1 Filed 04/22/19 PagePAGE
                                                                    1 of 34 PageID #: 7
                                                                         0001

VERONICA HELMS                  VS. OHIO VALLEY MEDICAL CENTER



LINE   DATE    ACTION

  1 03/04/19     COMPLAINT;MEMO;SUMMONS ID TO OHIO VALLEY MEDICAL CENTER RETURNED
  2              TO ATTORNEY FOR ISSUANCE BY SOS;RECEIPT;
  3 03/28/19     R/S SOS ACCEPTED SERVICE OF PROCESS ON BEHALF OF OVMC INC ON
  4              3/21/19




                                                     .0.0*hitt
                                EXHIBIT
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 2 of 34 PageID #: 8




        IN THE CIRCUIT COURT OF OHIO COUNTY, WEST VIRGINIA

VERONICA HELMS,

             Plaintiff,

v.                                                      Civil Action no. IC/
                                                       JUDGE &LLP

OHIO VALLEY MEDICAL
CENTER,INC.,

             Defendant.

                                   COMPLAINT

      Comes now Plaintiff, Veronica Helms, by counsel, Richard W. Walters and

Carl W. Shaffer of the law firm Shaffer & Shaffer PLLC, and for her Complaint

against Defendant, Ohio Valley Medical Center, Inc., states and alleges the

following:

                                     PARTIES

      1.     Veronica Helms is a resident and citizen of Canal Fulton, Ohio.

      2.     Ohio Valley Medical Center, Inc.("Medical Center"), is a West Virginia

corporation with its principal place of business in Ohio County, West Virginia.

                            JURISDICTION & VENUE

      3.     This Court has jurisdiction over this action because Medical Center

conducts business in Ohio County, West Virginia, and the matters in controversy

occurred in Ohio County, West Virginia.

      4.      Venue is proper in this Court because Medical Center conducts

business in Ohio County, West Virginia, and the matters in controversy occurred in
                                                    A,copy,Test*,
Ohio County, West Virginia.

                                                 (ire V.4    ri

                                                                                      -ot
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 3 of 34 PageID #: 9




                             FACTUAL.BACKGROUND

      5.      Medical Center is a non-profit corporation that operates a hospital in

Ohio County, West Virginia.

      6.      Medical Center contracts with traveling nurses, which are nurses who

travel to and work at different hospitals across the country as need arises.

      7.        Ms. Helms was, at all times relevant herein, a traveling nurse under

contract with Medical Center.

      8.        On November 23, 2018, Ms. Helms showed up early for her shift in the

psychiatric ward of Medical Center.

      9.        The psychiatric ward had a very low occupancy rate that day and

therefore had a relatively low need for nurses.

       10.      Ms. Helms' supervisor instructed Ms. Helms to check the emergency

room of Medical Center to see whether additional nurses were needed there.

       11.      Medical Center's emergency room computer system was allegedly

 hacked that day, so the emergency room was diverting patients away from Medical

 Center and told Ms. Helms that it did not need an additional nurse.

       12.      Upon returning to the psychiatric ward, Ms. Helms' supervisor told her

 that there was no need for her that day, signed her time sheet, and sent her home

 for the day.

        13.      Medical Center then falsely claimed that Ms. Helms abandoned her

 shift and terminated its traveling nurse contract with her before the expiration of

 the contract term.



                                            2
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 4 of 34 PageID #: 10




      14.     Medical Center also contacted Ms. Helms' placement company, Medical

Solutions LLC, and repeated the falsehood that Ms. Helms abandoned her shift.

      15.     Medical Center also told Medical Solutions LLC that Ms. Helms would

not return its phone calls.

       16.    Ms. Helms had a contract with Medical Solutions LLC to arrange

placements for her traveling nursing assignments.

       17.    Because of the falsehoods related to it by Medical Center, Medical

Solutions LLC stopped placing Ms. Helms on traveling nursing assignments.

       18.    Ms. Helms did not get paid unless she was working on a traveling

 nursing assignment.

       19.    As a result of Medical Center's actions, Ms. Helms has lost and

 continued to lose substantial income and benefits.

                        COUNT I—BREACH OF CONTRACT

       20.    Ms. Helms incorporates by reference the allegations contained in the

 preceding paragraphs as if fully set forth herein.

       21.     Ms. Helms fully complied with every obligation imposed upon her by

 her contract with Medical Center and with Medical Solutions LLC.

       22.     Medical Center failed to fulfill its obligations under its contract with

 Ms. Helms.

        23.    Ms. Helms lost substantial income and benefits to which she would

 have been entitled had Medical Center performed its obligations under the contract.

        24.    Ms. Helms spent some of her own time and resources in reliance on

 complete fulfillment of her contract with Medical Center.
                                            3
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 5 of 34 PageID #: 11




                            COUNT II—DEFAMATION

      25.     Ms. Helms incorporates by reference the allegations contained in the

preceding paragraphs as if fully set forth herein.

      26.     Medical Center made false statements to Medical Solutions LLC to

justify its breach of her employment contract.

      27.     Medical Center intended to harm Ms. Helms in doing so, or at least

acted with a negligent disregard to the truth.

      28.     Ms. Helms has been injured as a result of Medical Center's stated

falsehoods.

                     COUNT III—TORTIOUS INTERFERENCE

       29.    Ms. Helms incorporates by reference the allegations contained in the

preceding paragraphs as if fully set forth herein.

       30.    Medical Center intended to interfere with Ms. Helms' contract with

 Medical Solutions LLC when it gave Medical Solutions LLC false reasons for Ms.

 Helm's termination.

       31.     Because of the false statements from Medical Center, Medical

 Solutions LLC refused to place Ms. Helms on other traveling nursing assignments.

       32.     Ms. Helms lost substantial income and benefits as a result of not being

 placed on other traveling nursing assignments.

        WHEREFORE, Ms. Helms requests judgment against Medical Center as

 follows:

               a.    Compensatory damages, including lost wages and benefits;

               b.    Emotional distress damages;

                                            4
   Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 6 of 34 PageID #: 12




               c.    Reputational damages;

               d.    Annoyance and inconvenience damages;

               e.    Punitive damages;

               f.    Attorney fees and costs;

               g.    Prejudgment interest on all amounts; and

               h.    Such further relief as the Court may find appropriate.

         PLAINTIFF DEMANDS A JURY TRIAL.

                                                VERONICA HELMS
                                                Plaintiff,

                                                By Counsel,



  __,
, li,ichard W. Walters(WVSB #6809)
,
  Carl W. Shaffer(WVSB #13260)
  SHAFFER & SHAFFER PLLC
  P.O. Box 3973
  Charleston, WV 25339
  Telephone:(304) 344-8716
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 7 of 34 PageID #: 13




                        CASE INFORMATION STATEMENT

                                     CIVIL CASES

            IN THE CIRCUIT COURT OF OHIO COUNTY,WEST VIRGINIA:

 ******************************************************************************

 I. CASE STYLE:

 VERONICA HELMS,

        Plaintiff,

 v.                                                   CIVIL ACTION NO: )   q- sq
                                                                             0-90
 OHIO VALLEY MEDICAL
 CENTER,INC.

        Defendant.
                                           Days to Answer:     Type of Service:
                                               30 days         Secretary of State

 Ohio Valley Medical Center,Inc.
 2000 Eoff Street
 Wheeling, WV 26003


 II. TYPE OF CASE:

        TORTS                        OTHER                      CIVIL

         Asbestos                    Adoption                   Appeal From
                                                                Magistrate Court

        Professional                 Contract                   Petition For Modification
        Malpractice                                             Of Magistrate Sentence

        Personal                     Real Property              Miscellaneous
        Injury                                                  Civil

         Wrongful                    Mental Health              Other
         Death

        Product                       Appeal of
        Liability                  Administrative Agency

      X Other Tort
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 8 of 34 PageID #: 14




III. JURY DEMANDED:                X YES                NO

    CASE WILL BE READY FOR TRIAL BY:                    February / 2020


IV. DO YOU OR ANY OF YOUR CLIENTS OR WITNESSES IN THIS CASE
    REQUIRE SPECIAL ACCOMMODATIONS DUE TO A DISABILITY OR
    AGE?     Yes   X No


   IF YES,PLEASE SPECIFY:

          Wheelchair accessible hearing room and other facilities.

          Interpreter or other auxiliary aid for the hearing
          impaired.

          Reader or other auxiliary aid for the visually
          impaired.

          Spokesperson or other auxiliary aid for the speech
          impaired.

          Other:



 Attorney:         Richard W. Walters, Esq.(WVSB #6809) Representing:
 Firm:             Shaffer & Shaffer, PLLC                X Plaintiff        Defendant
 Address:          2116 Kanawha Blvd.
                   PO Box 3973
                   Charleston, WV 25339

 Telephone No:(304) 344-8716
 Fax No: (304)344-1481


 Dated:    .:2/01,-_-/7 /F
                                                    ----Richard W. Walters
   Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 9 of 34 PageID #: 15




                                SHAFFER & SHAFFER,PLLC
CHARLES S. PICCIRILLO                     ATTORNEYS AT LAW
HARRY G. SHAFFER, III                                                                   MADISON OFFICE:
ANTHONY J. CICCONI
TODD A. MOUNT                          2116 KANAWHA BOULEVARD,EAST                        330 SAtigj-littliZ.,' 1.cs
BRIAN L. OOTEN                        CHARLESTON, WEST VIRGINIA 25311                        PO1Bon3PTPC!!ITT
SABRENA OLIVE GILLIS
RICHARD W. WALTERS
                                                                                         MXS?     WV 25130—
                                                                                       TELEPHONE(304)369-0511
JEFFREY S. BURGESS                        POST OFFICE BOX 3973                            FAX(304)369-5431
BENJAMIN M. MISHOE
K. BRIAN ADKINS
                                   CHARLESTON,WEST VIRGINIA 25339-3973
J. ALEXANDER MEADE
CARL W.SHAFFER                           TELEPHONE(304)344-8716
                                            FAX (304) 344-1481

                                            February 27, 2019


   Brenda Miller, Clerk
   Ohio County Circuit Clerk
   1500 Chapline Street
   Wheeling, WV 26003

                    Re:   Veronica Helms v. Ohio Valley Medical Center, Inc.
                          Circuit Court of Ohio County, West Virginia
   Dear Clerk:

          Enclosed for filing, please find the following documents:

               1. An original and two copies of the Complaint and Civil Cover Sheet;

              2. An original and two copies of a summons for defendant Ohio Valley Medical
                 Center; and

               3. Our check in the amount of$200 for filing the Complaint.

          Please return the copy of the Summonses and Complaint to my office for service.

          Thank you for your assistance in this matter.


                                                          Sincerely,



                                                      Richard W. Walters
  RWW/dlb
  Enclosures
  cc: Veronica Helms
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 10 of 34 PageID #: 16




                                         SUMMONS
               IN THE CIRCUIT COURT OF OHIO COUNTY,WES
                                                                              T VIRGINIA
   VERONICA HELMS

           Plaintiff,

   v.
                                                                 CIVIL ACTION NO:
                                                                 JUDGE
                                                                                           11 C 661
   OHIO VALLEY MEDICAL
   CENTER,INC.,

           Defendant.



  TO:      OHIO VALLEY MEDICAL CENTER,INC.
           2000 Eoff Street
           Wheeling, WV 26003


           IN THE NAME OF THE STATE OF WEST VIRGINIA
                                                                        , you are hereby Summoned and
  required to serve upon Richard W. Walters, plaintiffs
                                                               attorney, whose address is P. 0. BOX
  3973, CHARLESTON, WEST VIRGINIA 25339,
                                         an answer including any related
  counterclaim you may have to the complaint filed against
                                                                you in the above styled civil action, a
  true copy of which is herewith delivered to you. You are
                                                                required to serve your answer within
  30 days after service of this summons upon you, exclusive
                                                                of the day of service. If you fail to do
  so,judgment by default'will be taken against you for the
                                                                relief demanded in the complaint and
  you will be thereafter barred from asserting in another
                                                              action any claim you may have which
  must be asserted by counterclaim in the above style civil
                                                              action.
  Dated:   6IH lig
                                                                         Clerk of Court
      Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 11 of 34 PageID #: 17



OFFICE OF THE CIRCUIT CLERK
                                                                            RECEIPT #: 94803
OHIO
1 500 CHAPLINE ST.
WHEELING
                                                         DATE RECEIVED: 03/04/2019
RECEIVED FROM: SHAFFER & SHAFFER
                                                                    TOTAL: $200.00
STYLE OF CASE
          VERONICA HELMS
            VS.
          OHIO VALLEY MEDICAL CENTER
                                                  CASE #: 19-C-59
I N PAYMENT OF FILING FEE
BY Cash 55665

                                                       BRENDA L MILLER
                                                 CLERK OF THE CIRCUIT COURT




                                              BY h4
   Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 12 of 34 PageID #: 18


Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305

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                                                                                                              grEt
                                                                                                           Ca97;7701



                                                                                                     Mac Warner
                                                                                                  Secretary of State
                                                                                                 State of West Virginia
                                                                                               Phone: 304-558-6000
                                                                                                        886-767-8683
                                                                                                     Visit us online:
Brenda L. Miller                                                                                     voott.v,vsos.com
4th Floor, City County Bldg.
1500 Chapline Street
W heeling, WV 26003-3592




    Control Number: 236071                                                      Agent: RICK SCHERICH
             Defendant: OHIO VALLEY MEDICAL CENTER                             County: Ohio
                        I NCORPORATED
                        2000 EOFF ST.                                     Civil Action: 19-C-59
                        W HEELING, WV 26003 US                      Certified Number: 92148901125134100002493032
                                                                         Service Date: 3/21/2019

I am enclosing:

       1 interrogatories, 1 request for production, 1 request for admissions, 1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have
                                                                                                                    accepted
service of process in the name and on behalf of YOUR PENDING CORPORATION.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service
                                                                                                                         of
process in the name and on behalf of YOUR PENDING CORPORATION as your attorney-in-fact. Please address any
questions about this document directly to the court or the plaintiff's attorney, shown in the enclosed paper, not to
                                                                                                                     the
Secretary of State's office.



Sincerely,




Mac Warner
Secretary of State
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 13 of 34 PageID #: 19




                                        SUMMONS
              IN THE CIRCUIT COURT OF OHIO COUNTY, WEST VIRGINIA

  VERONICA HELMS

         Plaintiff,

  v.
                                                              CIVIL ACTION NO:
                                                              JUDGE      ae,          iq -.5q
  OHIO VALLEY MEDICAL
  CENTER,INC.,

         Defendant.


                                                                                      "" "
  TO:    OHIO VALLEY MEDICAL CENTER,INC.
         2000 Eoff Street
         Wheeling, WV 26003


         IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby Summoned and

  required to serve upon Richard W. Walters, plaintiffs attorney, whose address is P. 0. BOX

  3973, CHARLESTON, WEST VIRGINIA 25339, an answer including any related

  counterclaim you may have to the complaint filed against you in the above styled civil action, a

  true copy of which is herewith delivered to you. You are required to serve your answer within

  30 days after service of this summons upon you, exclusive of the day of service. If you fail to do

  so, judgment by default will be taken against you for the relief demanded in the complaint and

  you will be thereafter barred from asserting in another action any claim you may have which

  must be asserted by counterclaim in the above style civil a on.

  Dated: 3/4




                                                                         Deputy
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 14 of 34 PageID #: 20




                          CASE INFORMATION STATEMENT

                                       CIVIL CASES

              IN THE CIRCUIT COURT OF OHIO COUNTY,WEST VIRGINIA:

  ***************************************************
                                                            ***************************
  I. CASE STYLE:

  VERONICA HELMS,

          Plaintiff,
                                                        CIVIL ACTION NO:
  v.


  OHIO VALLEY MEDICAL
  CENTER,INC.

          Defendant.
                                             Days to Answer:        Type of Service:
                                                 30 days            Secretary of State

  Ohio Valley Medical Center,Inc.
  2000 Eoff Street
  Wheeling, WV 26003


  II. TYPE OF CASE:

          TORTS                        OTHER                        CIVIL

          Asbestos                     Adoption                     Appeal From
                                                                    Magistrate Court

          Professional                Contract                      Petition For Modification
          Malpractice                                               Of Magistrate Sentence

          Personal                    Real Property                 Miscellaneous
          Injury                                                    Civil

          Wrongful                    Mental Health                 Other
          Death

          Product                      Appeal of
          Liability                 Administrative Agency

       X Other Tort
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 15 of 34 PageID #: 21




  III. JURY DEMANDED:               X YES                NO

     CASE WILL BE READY FOR TRIAL BY:                    February / 2020


  IV. DO YOU OR ANY OF YOUR CLIENTS OR WITNESSES IN THIS CASE
      REQUIRE SPECIAL ACCOMMODATIONS DUE TO A DISABILITY OR
      AGE?     Yes   X No


    IF YES,PLEASE SPECIFY:

           Wheelchair accessible hearing room and other facilities.

           Interpreter or other auxiliary aid for the hearing
           impaired.

           Reader or other auxiliary aid for the visually
           impaired.

           Spokesperson or other auxiliary aid for the speech
           impaired.

           Other:



  Attorney:         Richard W. Walters, Esq.(WVSB #6809) Representing:
  Firm:             Shaffer & Shaffer, PLLC                X Plaintiff           Defendant
  Address:          2116 Kanawha Blvd.
                    PO Box 3973
                    Charleston, WV 25339

  Telephone No:(304)344-8716
  Fax No: (304) 344-1481


  Dated:     ,27A--7//
                                                            Richard W. Walters
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 16 of 34 PageID #: 22




             IN THE CIRCUIT COURT OF OHIO COUNTY
                                                              , WEST VIRGINIA
   VERONICA HELMS,

                Plaintiff,

   v.
                                                               Civil Action no.
                                                              JUDGE
                                                                                    -C-5et
   OHIO VALLEY MEDICAL
   CENTER,INC.,

                Defendant.

                                       COMPLAINT

         Comes now Plaintiff, Veronica Helms, by coun
                                                            sel, Richard W. Walters and
   Carl W. Shaffer of the law firm Shaffer &
                                                 Shaffer PLLC, and for her Complaint
   against Defendant, Ohio Valley Medical
                                                Center, Inc., states and alleges the
  following:

                                        PARTIES
        I.     Veronica Helms is a resident and citizen of Cana
                                                                  l Fulton, Ohio.
        2.     Ohio Valley Medical Center, Inc.("Medical Cent
                                                                  er"), is a West Virginia
  corporation with its principal place of business
                                                     in Ohio County, West Virginia.

                                JURISDICTION & VENUE
        3.     This Court has jurisdiction over this action
                                                                because Medical Center
  conducts business in Ohio County, West Virg
                                              inia      , and the matters in controversy
  occurred in Ohio County, West Virginia.

        4.     Venue is proper in this Court because Medi
                                                                   cal Center conducts
  business in Ohio County, West Virginia, and
                                                the matters in controversy occurred in
  Ohio County, West Virginia.
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 17 of 34 PageID #: 23




                                FACTUAL BACKGROUND
         5.       Medical Center is a non-profit corporation that
                                                                    operates a hospital in
   Ohio County, West Virginia.

         6.       Medical Center contracts with traveling nurses,
                                                                    which are nurses who
   travel to and work at different hospitals acro
                                                 ss the country as need arises.
         7.       Ms. Helms was, at all times relevant herein,
                                                                 a traveling nurse under
   contract with Medical Center.

         8.      On November 23, 2018, Ms. Helms showed up
                                                                 early for her shift in the
   psychiatric ward of Medical Center.

         9.      The psychiatric ward had a very low occu
                                                               pancy rate that day and
  therefore had a relatively low need for nurses.

         10.     Ms. Helms' supervisor instructed Ms. Helms
                                                                 to check the emergency
  room of Medical Center to see whether addition
                                                    al nurses were needed there.
         11.     Medical Center's emergency room computer
                                                                  system was allegedly
  hacked that day, so the emergency room was
                                                  diverting patients away from Medical
  Center and told Ms. Helms that it did not need
                                                    an additional nurse.
        12.      Upon returning to the psychiatric ward, Ms. Helm
                                                                    s' supervisor told her
  that there was no need for her that day, sign
                                                  ed her time sheet, and sent her home
  for the day.

        13.      Medical Center then falsely claimed that Ms.
                                                                 Helms abandoned her
  shift and terminated its traveling nurse cont
                                                ract with her before the expiration of
  the contract term.



                                           2
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 18 of 34 PageID #: 24




          14.    Medical Center also contacted Ms. Helms'
                                                          pla      cement company, Medical
   Solutions LLC, and repeated the falsehoo
                                                d that Ms. Helms abandoned her shift.
          15.    Medical Center also told Medical Solution
                                                                s LLC that Ms. Helms would
   not return its phone calls.

          16.    Ms. Helms had a contract with Medica
                                                             l Solutions LLC to arrange
   placements for her traveling nursing ass
                                            ignmen    ts.
          17.    Because of the falsehoods related to it
                                                              by Medical Center, Medical
   Solutions LLC stopped placing Ms. Helms
                                                 on traveling nursing assignments.
         18.     Ms. Helms did not get paid unless she
                                                              was working on a traveling
   nursing assignment.

         19.    As a result of Medical Center's actions,
                                                                 Ms. Helms has lost and
   continued to lose substantial income and bene
                                                   fits.

                          COUNT I—BREACH OF CONTRACT
         20.    Ms. Helms incorporates by reference the
                                                             allegations contained in the
  preceding paragraphs as if fully set forth
                                               herein.
         21.    Ms. Helms fully complied with every obli
                                                             gation imposed upon her by
  her contract with Medical Center and wit
                                               h Medical Solutions LLC.
        22.     Medical Center failed to fulfill its obligati
                                                              ons under its contract with
  Ms. Helms.

        23.     Ms. Helms lost substantial income and
                                                            benefits to which she would
  have been entitled had Medical Center per
                                                formed its obligations under the contract
                                                                                         .
        24.     Ms. Helms spent some of her own time
                                                            and resources in reliance on
  complete fulfillment of her contract with Med
                                                 ical Center.
                                            3
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 19 of 34 PageID #: 25




                               COUNT II—DEFAMATION
         25.     Ms. Helms incorporates by reference the allegation
                                                                      s contained in the
   preceding paragraphs as if fully set forth herein.

         26.     Medical Center made false statements to Medical
                                                                       Solutions LLC to
  justify its breach of her employment contract.

         27.    Medical Center intended to harm Ms. Helms in doin
                                                                        g so, or at least
   acted with a negligent disregard to the truth.

         28.    Ms. Helms has been injured as a result of Medi
                                                                    cal Center's stated
  falsehoods.

                        COUNT III—TORTIOUS INTERFERENCE

         29.    Ms. Helms incorporates by reference the allegation
                                                                      s contained in the
  preceding paragraphs as if fully set forth herein.

         30.    Medical Center intended to interfere with Ms. Helm
                                                                       s' contract with
  Medical Solutions LLC when it gave Medical Solut
                                                         ions LLC false reasons for Ms.
  Helm's termination.

         31.    Because of the false statements from Medical
                                                             Center, Medical
  Solutions LLC refused to place Ms. Helms on other
                                                        traveling nursing assignments.
        32.     Ms. Helms lost substantial income and benefits as
                                                                    a result of not being
  placed on other traveling nursing assignments.

        WHEREFORE, Ms. Helms requests judgment again
                                                                 st Medical Center as
  follows:

                a.    Compensatory damages, including lost wages and
                                                                         benefits;
                b.   Emotional distress damages;

                                            4
  Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 20 of 34 PageID #: 26




                  c.    Reputational damages;

                  d.    Annoyance and inconvenience dam
                                                          ages;
                  e.    Punitive damages;

                  f.   Attorney fees and costs;

                  g.   Prejudgment interest on all amount
                                                             s; and
                  h.   Such further relief as the Court ma
                                                          y find appropriate.
            PLAINTIFF DEMANDS A JURY
                                            TRIAL.

                                                  VERONICA HELMS
                                                  Plaintiff,

                                                  By Counsel,


      _,-------
..-   Richard W. Walters(WVSB #68
      --
                                  09)
      Carl W. Shaffer(WVSB #13260
                                  )
      SHAFFER & SHAFFER PLLC
      P.O. Box 3973
      Charleston, WV 25339
      Telephone:(304) 344-8716
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 21 of 34 PageID #: 27




         IN THE CIRCUIT COURT OF OHIO COUNTY,WEST VIRGINIA

VERONICA HELMS,

       Plaintiff,
                                                         CIVIL ACTION NO:19-C-59

                                                                  Judge Michael Olejasz
 v.

 OHIO VALLEY MEDICAL
 CENTER,INC.,

       Defendant.

              PLAINTIFFS FIRST SET OF INTERROGATORIES,
       REQUEST FOR PRODUCTION OF DOCUMENTS AND REQUEST FOR
      ADMISSIONS TO DEFENDANT OHIO VALLEY MEDICAL CENTER,INC.
        Pursuant to Rules 26, 33, 34, and 36 of the West Virginia Rules of Civil
 Procedure, Plaintiff Veronica Helms propounds the following discovery request to
 Defendant Ohio Valley Medical Center, Inc., to be answered fully in writing and
 under oath, with responses to be served upon Plaintiffs counsel.
                        DEFINITIONS AND INSTRUCTIONS
        This discovery request shall be deemed to be continuing in nature and you
 are therefore requested to serve supplemental answers and responses to each
 interrogatory and request if further information is obtained subsequent to the date
 of your initial answers and responses.
        For the purpose of the interrogatories, the pronouns "defendant", "you" and
 “your)) refers to the Defendant and its counsel.

        All such requests shall be deemed to include knowledge or information in
 possession of Defendant and/or its counsel, unless privileged.
        The word "document" means any writing, recording, film, videotape, audio
 tape, diagram, memorandum, letter, file, telephone log, calendar, diary entry,
 telegram, telefax, drawing, diagram, photograph, report, note, e-mail or any other
Case 5:19-cv-00152-JPB Document 1-1 Filed 04/22/19 Page 22 of 34 PageID #: 28




writing or thing in whatever form, however produced or reproduced, and all drafts
thereof.
      If any request for production of documents requests that you produce a
document which you feel to be privileged or confidential, identify the document by
stating what kind of document it is, the name of the person who made or sent it, the
person or persons to whom it was sent and the date, and state the ground for your
claim of privilege or confidentiality.


                                INTERROGATORIES

Interrogatory No. 1:

       For each admission you denied in the Plaintiffs First Set of Request for

 Admissions, please explain in detail why you denied the Admission.

 Answer:



 Interrogatory No. 2:

       Please list the name, address, employer, and telephone number of each and

 every individual whom the Defendant believes has knowledge of the material facts

 of this case and state in detail the facts known by each such individual.

 Answer:



 Interrogatory No. 3:

       Please list the name, address, employer, and telephone number of each and

 every person the Defendant intends to call, or believes that it may call, as a witness

 at the trial of this matter, and detail the testimony each witness is expected to give.

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Answer:



Interrogatory No. 4:

      Please identify, with specificity, each and every exhibit, document, e-mail,

video or audio tape, model or photograph, or any other tangible thing of whatever

form, which the Defendant intends to use, or believes that it may use at trial.

Answer:




 Interrogatory No. 5:

       Please identify each expert witness you expect to call to testify at trial, the

 subject matter to which each expert is expected to testify, the substance of the facts

 and opinions to which each expert is expected to testify, and a summary of the

 grounds or basis for each opinion of each expert.

 Answer:



 Interrogatory No. 6:

        Please state whether you or anyone on your behalf has obtained any written

  or recorded statements from any person relating in any way to the claims or

  defenses set forth in this matter, and, if so, please state:

       (a)     the name, home address, and home telephone number of each such
               person by whom such a statement was made;

        (b)    the date such statement was obtained; and


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      (c)    the manner in which each such statement was recorded.

Answer:



Interrogatory No. 7:

       Please identify any and all documents, including but not limited to, letters,

 notes, memoranda, e-mails, and audio and video recordings that relate in any way

 to the matters set forth in the Complaint, and identify all persons known by the

 Defendant to possess a copy of each such document.

 Answer:



 Interrogatory No. 8:

       State whether there is or was in existence any policy of insurance that would

 or might inure to the benefit of the Plaintiff herein, by providing for payment of a

 part or all of any judgment rendered in favor of the Plaintiff, against the Defendant,

 or against any other person, firm or corporation who is, or may be, liable to the

 Plaintiff by reason of the incident described in the Complaint, and if your answer is

 in the affirmative state as follows, as to each such policy known or believed to exist

 by you or your attorneys.

       a.     The name and address of the insurer of each such policy;

       b.     The name and address of each insured of each such policy;

       c.     The relationship, if any, between each named insured on each such
              policy and the Defendant in this case;

       d.     The policy number of each such policy;

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      e.     The name and address of each such person, firm or corporation who is
             or may be an "additional insured" under such policy by reason of the
             relationship, if any, between additional insured" and the defendant in
             this case;

      f.     The limits of liability in each such policy;

       g.    Whether or not any insurer has notified any insured that said insured
             or any other person, firm or corporation must pay a part of or all of any
             judgment against defendants before the insurer must make any
             payments, if so, what payment must be made and by whom before the
             insurer must make payments; and

       h.    Whether or not the insurer has notified any insured that said insurer
             claims that there is or may be no coverage under the terms of the
             policy of insurance involved.
 Answer:



 Interrogatory No. 9:

       Please identify each individual that was involved in the decision to terminate

 the Defendant's contract with the Plaintiff and the reason for said termination.

 Answer:



 Interrogatory No. 10:

       Please explain Plaintiff's job duties while employed by Defendant.

 Answer:




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Interrogatory No. 11:
                                                                                      of
      With respect to each defense that you intend to assert at the time of trial
                                                                       in support of
this matter, please describe the defense and summarize all evidence

each such defense.

Answer:



Interrogatory No.12:
                                                                                      iff
       What was Plaintiff's total compensation paid by the Defendant? Did Plaint
                                                                      If Plaintiff was
 earn any amount in overtime while working for the Defendant?
                                                                     ation of the
 paid by the hour, what was her hourly rate at the time of the termin

 contract with her?

 Answer:



 Interrogatory No. 13:
                                                                       dant,
        List each benefit Plaintiff received while employed with Defen
                                                                               ment plans.
 including, but not limited to, health insurance, life insurance, and retire
                                                                          monthly cost
 Identify each document that describes any benefit listed. Provide the
                                                                           cost of such
  of such benefits and indicate whether Plaintiff or Defendant paid the

  benefit(s).

  Answer:




                                            6
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Interrogatory No. 14:

      Please list each individual employed at Defendant's Wheeling location from

January 2018 to present. For each individual please list their name, date of birth,

positions held and dates of each position, date of hire, date of separation of

employment (if no longer employed), and reason for separation of employment.

Answer:



Interrogatory No. 15:

       Did any individual(s) attempt to contact Plaintiff at any time between

 November 28, 2018, and the moment that Defendant decided to terminate its

 contract with Plaintiff? If so, please identify the name of the individual(s), the

 position held by the individual(s) within Defendant's organization, and the purpose

 of the attempted contact.

 Answer:



 Interrogatory No. 16:

       Does Defendant have any written policies or protocols regarding staffing

 decisions when census in a department is low? If so, please provide a copy of said

 policies or protocols.

  Answer:




                                          7
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                  REQUEST FOR PRODUCTION OF DOCUMENTS

Request No. 1:
                                                             relied upon by the Defendant
         Please provide a copy of any and all documents

in answering the preceding interrogatories.

Response:



Request No. 2:

                                                       s, including but not limited to
        Please provide a copy of any and all document
                                                         ion documents, and audio and
 letters, notes, memoranda, e-mails, reports, investigat
                                                    ers set forth in the Complaint.
 video recordings that relate in any way to the matt


 Response:



 Request No. 3:
                                                               ed by defendant regarding
          Please provide a copy of any files maintain
                                                            , disciplinary files, etc.
  plaintiff, including but not limited to personnel files

  Response:



  Request No. 4:
                                                                records reflecting Plaintiffs
           Please provide a copy of any and all payroll

   earnings from Defendant such as W-2s.

   Response:




                                               8
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Request No. 5:
                                                                Defendant had the
      Please provide a copy of any and all documents that

Plaintiff sign or initial while employed.

Response:



Request No. 6:
                                                                provide coverage for
       Please provide a copy of any insurance policy that may

the claims set forth in plaintiffs complaint.

 Response:



 Request No. 7:
                                                                      the last five years.
        Please provide a copy of defendant's income tax returns for

 Response:



  Request No.8:
                                                                  reflect any benefits
        Please provide a copy of any and all documents that

  received by Plaintiff during her employment with Defendant.

  Response:



  Request No. 9:
                                                                       paystub reflecting
         Please provide a copy of plaintiffs last paycheck and

   payment of her accrued vacation.


                                                9
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Response:



Request No. 10:
                                                    s,   including notes, that were
      Please produce a copy of any and all document
                                             the plaintiff, whether as a result of
generated in connection with or concerning

meetings or otherwise.

Response:



 Request No. 11:
                                                     the assets currently held by
       Please provide all documents that refer to

 Defendant.

 Response:



 Request No. 12:
                                                       referring to Defendant.
       Please provide all current financial statements

  Response:



  Request No. 13:
                                                        guidelines.
        Please provide a copy of Defendant's employee

  Response:




                                           10
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Request No. 14:

      Please provide a copy of plaintiffs job description.

Response:



Request No. 15:
                                                          Defendant has with Medical
      Please provide a copy of any agreement that the
                                                    es.
Solutions LLC, a placement firm for traveling nurs

 Response:



 Request No. 16:
                                                              een the Defendant and
       Please provide a copy of any communications betw
                                                  h relate to the Plaintiff.
 Medical Solutions LLC, the subject matter of whic

 Response:



  Request No. 17:
                                                                 census numbers of the
        Please provide a copy of any documentation showing
                                                             nt from November 22, 2018,
  Defendant's psychiatric unit and emergency departme

  to November 24, 2018.

  Response:




                                             11
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Request No. 18:
                                                                             .
                                       end  ant's contract with the Plaintiff
      Please provide a copy of the Def

Response:



Request No. 19:
                                                                                   to
                        copy of the Pla int iffs timesheets from November 10, 2018
       Please provide a

 November 24, 2018.

 Response:



  Request No. 20:
                                                                                     ts to
                                         ne records    reflecting Defendant's attemp
        Please provide a copy of any pho
                                                                        moment that
                                   ween November 28, 2018, and the
  contact Plaintiff at any time bet
                                      its contract with Plaintiff?
  Defendant decided to terminate

  Response:




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                            REQUEST FOR ADMISSIONS

Admission No. 1:
                                           tract with the Defendant.
      Please admit that Plaintiff had a con

Response:



Admission No. 2:
                                                                            ate    its
                                         erally made the decision to termin
       Please admit that Defendant unilat

 contract with Plaintiff.

 Response:




 Admission No. 3:
                                                                                  the
                                              ated Plaintiffs contract because of
        Please admit that Defendant termin

  low census on the psychiatric ward.

  Response:



  Admission No. 4:
                                           d that Plaintiff abandoned her shift.
         Please admit that Defendant claime

   Response:



   Admission No. 5:
                                                                                   2018.
              ase adm it that Plaintif f did not abandon her shift on November 23,
          Ple

    Response:


                                              13
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Admission No.6:
                                                                to go home on
                                 s    supervisor instructed her
     Please admit that Plaintiff

                            there were few patients.
November 23, 2018 because

Response:



 Admission No. 7:
                                    supervisor signed Plaintiffs timesheet indicating
       Please admit that Plaintiffs
                                                            8.
                              the day on November 23, 201
 when she was sent home for

 Response:


                                               VERONICA HELMS,
                                               Plaintiff,

                                               By Counsel




                              809)
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                             60)
   Carl W. Shaffer(WVSB #132
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